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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE SOUTHERN DISTRICT OF FLORIDA



  FREEDOM WATCH, INC.                             }
  7050 West Palmetto Park Road                    }
  Boca Raton, Florida 33433                       }
                                                  }
                              Plaintiff,          }
                                                  }       CASE NO.___________________
                        v.                        }
                                                  }
  ORGANIZATION OF PETROLEUM                       }
  EXPORTING COUNTRIES                             }
  Helferstorferstrasse 17                         }
  A-1010                                          }
  Vienna, Austria




                                            COMPLAINT

         COMES NOW the Plaintiff, FREEDOM WATCH, Inc., by and through its undersigned

  counsel, sues the Defendant and alleges as follows:


                                    NATURE OF THE ACTION

         1)      Plaintiff, FREEDOM WATCH, Inc., is an organization which seeks to promote

  and protect freedom in the United States and throughout the world. It has purchased gasoline

  from the Defendant and its agents and co-conspirators in this federal judicial district, as set forth

  in this complaint. Freedom Watch, Inc. is incorporated in Washington, D.C. and with offices in

  Boca Raton, Florida. It is bringing this lawsuit because of the illegal anti-competitive actions of

  the Defendant, the ORGANIZATION OF PETROLEUM EXPORTING COUNTRIES

  (“OPEC”) which, as a form of economic terrorism, are designed to severely harm the economies

  or strategic interests of the United States and Western Europe in particular. Defendant is



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  comprised of several members who are bent on furthering radical Islam’s war on the western

  Judeo-Christian civilization, and the United States and Israel in particular, and in the case of

  Venezuela, communism. Venezuela also collaborates with the Muslim countries that comprise

  OPEC to further terrorism against the west. In short, the recent huge, calculated increase in the

  price of gasoline and petroleum products, which is expected to rise to over $120.00 dollars per

  barrel of oil in 2022, is the result of per se violations of the antitrust law, and is part of a

  calculated strategy to advance the constituent members of OPEC’s latent war against Western

  democratic interests, since political actions, overt terrorist acts, and other means have thus far not

  produced the “desired” results and “cleverly” adds economic terrorism to their panoply of

  weapons. Some of the members of OPEC such as the Islamic Republic of Iran are, not

  coincidentally, on the U.S. State Department’s list of terrorist designated nations. In the case of

  Venezuela, this nation has been in the process of being added to this list of statesponsors of

  terrorism for its use of oil, petroleum, and other revenues to support and finance terrorist groups

  such as the Colombian FARC, the Taliban of Afghanistan, the communist state of Cuba – also on

  the U.S. State Department’s terrorist watch list – and other nations and groups bent on destroying

  American and other Western interests. The increased revenues Defendant’s antitrust violations

  generate are used in large part to finance terrorist organizations and nation states, supported, and

  furthered in particular by Islamic Republic of Iran, Saudi Arabia, and Venezuela.

         2)      This antitrust lawsuit is brought under Section 1 of the Sherman Act, 15 U.S.C. §

  1 and Sections 4 and 16 of the Clayton Act, 15 U.S.C. § 15, 26. It arises out of the role of

  Defendant, OPEC, in a conspiracy with its members (collectively referred to herein as “the

  cartel”) and additional co-conspirators in an admitted price fixing scheme to raise, fix, and

  stabilize the price of gasoline and other petroleum products in the United States.




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         3)      The primary elements of Defendant OPEC’s conspiracy are the agreed-upon

  limits and restrictions on the production of oil and other petroleum products by OPEC’s

  twelve member nations, which together control most of the world’s oil reserves. The

  avowed purpose and demonstrable effect of the cartel’s production limits and restrictions are

  to raise, fix and stabilize world oil prices above competitive levels, thus dramatically

  increasing the price of gasoline and other petroleum products in the United States and

  around the world.

         4)      Defendant OPEC’s is an Entity organized and existing under the laws of the

  country of Austria, and thus the European Union. Austria must adhere to and abide by the

  treaties of the European Union, including but not limited to its treaty with the United States

  concerning service of process.

         5)      The present members of OPEC are Algeria, Angola, Congo, Equatorial

  Guinea, Gabon, the Islamic Republic of Iran, Iraq, Kuwait, Libya, Nigeria, Saudi Arabia, the

  United Arab Emirates, and the Bolivarian Republic of Venezuela. Together they make up

  the cartel.

         6)      Defendant OPEC through the cartel sells gasoline and other petroleum

  products throughout the United States. Defendant has violated federal antitrust in at least

  three ways.

         7)      First, Defendant OPEC has had its members enter into an agreement with it to

  facilitate, enable, and provide direct assistance to its price fixing scheme. Pursuant to this

  agreement, OPEC and the cartel have provided analyses of oil markets in the United States,

  prepared a long-term strategy, organized OPEC summits, and provided speakers at OPEC

  conferences.




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          8)    Secondly, Defendant OPEC has had its members enter into an anticompetitive

  agreement and conspiracy to assist and facilitate the sale of gasoline and other petroleum

  products to customers in the United States and anticompetitive prices.

          9)    Thirdly, Defendant OPEC has had the cartel to extend its anticompetitive acts

  and practices directly onto United States soil. Using its various suppliers as instrumentalities

  of its unlawful scheme, OPEC has entered the United States and this district for the purpose

  and with the effect of bringing to fruition its unlawful scheme to sell gasoline and other

  petroleum products to customers in the United States at anticompetitive prices. OPEC is

  liable for the anticompetitive effects in the United States of its and the cartel’s unlawful

  price-fixing scheme. Currently this unlawful scheme has been to raise prices of oil and

  petroleum to in excess of a $72.00 per barrel bringing the economy of the United States and

  the entire Western world to its economic knees. The price of gasoline in the United States

  currently borders on $6.00 per gallon and will continue rise due to this unlawful scheme and

  the supply of oil being reduced.

          10)   Plaintiff is a purchaser of gasoline and other petroleum products in the United

  States. The purpose of Plaintiff’s lawsuit is to enjoin Defendant OPEC from facilitating,

  assisting, or implementing such anticompetitive conduct now and in the future. As a

  governmental cartel that does commercial business in this district, it has no immunity from

  suit.

                                     JURISDICTION AND VENUE

          11)   This action arises out of the Section 1 of the Sherman Act, 15 U.S.C. § 1 and

  Sections 4 and 16 of the Clayton Act, 15 U.S.C. §15,26.

          12)   Jurisdiction herein is proper under 28 U.S.C. § 1331, 1337. Defendant OPEC

  and the cartel have been engaged in an ongoing price-fixing conspiracy with the purpose



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  and effect of limiting production of gasoline and petroleum products and raising prices,

  thereby causing injury to Plaintiff. Defendant OPEC through the cartel, sells gasoline and

  other petroleum products directly to suppliers as well as consumers in the United States,

  thereby causing injury to Plaintiff. Defendant OPEC through the cartel, sells gasoline and

  other petroleum products directly to suppliers as well as consumers in the United States.

         13)    Venue is proper in the District of Columbia pursuant to 15 U.S.C. § 15, 22,

  26, and 28 U.S.C. § 1391 (b) and (c). At all times material hereto, Defendant OPEC

  transacted business, was found or had agents and co-conspirators in this District.

                                           PARTIES

         14)    Plaintiff herein does business in this District and has purchased gasoline and

  other petroleum products here sold by Defendant OPEC.

         15)    Defendant OPEC is an entity organized and existing under the laws of the

  country of Austria.

         16)    Unnamed conspirators to this action are the present twelve member nations of

  OPEC; Algeria, Angola, Ecuador, the Islamic Republic of Iran, Iraq, Kuwait, Libya,

  Nigeria, Qatar, Saudi Arabia, the United Arab Emirates, and the Bolivarian Republic of

  Venezuela led by Dictator Hugo Chavez which are co-conspirators with OPEC in the

  unlawful price-fixing scheme. OPEC’s conspiracy also includes privately owned oil

  companies which have coordinated production levels and have imposed limitations and

  restrictions together with the cartel. These entities have adhered to, participated in,

  benefitted from, communicated with others with respect to and facilitated the price-fixing

  conspiracy. The entities have acted knowingly and willingly in furtherance of the price-

  fixing conspiracy. Both OPEC and the unnamed co-conspirators herein are “persons” within

  the meaning of the antitrust laws.



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                                     INTERSTATE TRADE AND

                                             COMMERCE

         17)     OPEC through the cartel and unnamed co-conspirators sells gasoline and other

  petroleum products to Plaintiff in the United States.

         18)     There is an intentional and continuous flow in interstate commerce of gasoline

  and other petroleum products directly to Plaintiff from OPEC through the cartel and unnamed

  co-conspirators. Defendant OPEC through the cartel and unnamed co-conspirators has received

  payment for such products within the United States across State lines.

                                  OPEC IS A MEMBER OF THE

                                           CONSPIRACY

         19)     Defendant OPEC is a member of the conspiracy. Together with its members and

  unnamed co-conspirators, it has actively participated in illegal price fixing, provided assistant to

  its members and co-conspirators, and has implemented a price-fixing agreement. OPEC has

  provided material assistance to its members and co-conspirators in numerous ways.

         20)     Defendant OPEC has provided its members and co-conspirators with technical

  services and with information on the United States market and demand for gasoline and other

  petroleum products that greatly assist them in their scheme to fix the price of oil at

  anticompetitive levels.

         21)     Defendant OPEC has developed a long-term strategy which explicitly adopts the

  unlawful control of oil prices by calling for its members and co-conspirators to take proactive

  measure to influence the market when prices that it considers to be too low for its objectives.

         22)     The price of gasoline and other petroleum products-like all products in the

  marketplace, are determined by supply and demand. Increases or decreases in production affect

  the price of the product in the United States, including the price of gasoline at the pump.


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         23)     Defendant OPEC and its members and co-conspirators control most of all world’s

  oil prices reserves. The avowed purpose of Defendant OPEC is to fix, raise and stabilize world

  oil prices above competitive levels. To that end, OPEC’s members agree on production quotas

  that limit and restrict the amount of oil that each member may produce. Even when an individual

  OPEC member exceeds its production quota, it produces far less than it would were they

  operating in a competitive market. Even with OPEC members produce to the full extent of their

  capacity, the produce far less oil than they would were they operating in a competitive market

  because they artificially restrict their production capacity as part of their price-fixing scheme.

         24)     In the absence of this agreement, OPEC members and co-conspirators would be

  producing more oil and the price of gasoline and other petroleum products would be less.

         25)     Defendant OPEC has succeeded in driving and maintaining the global price of oil

  well above competitive levels for their own nefarious purpose. As a result of OPEC’s conspiracy

  in restraint of trade, oil prices have reached exorbitant levels of over $72.00 per barrel and will

  rise to about $120.00 dollars per barrel in 2022, which has seriously harmed the economies of the

  United States and the Western World, as well as consumers such as Plaintiff.

         26)     Concerted and calculated production increases and decreases by the Defendant

  OPEC directly affect and determine changes in the prices of gasoline and other petroleum

  products in the United States. As a direct result of Defendant OPEC’s self-imposed production

  quotas, the price of oil in the world markets has far exceeded competitive levels. The prices of

  gasoline and other petroleum products in the United States sold to Plaintiff greatly exceed the

  prices that would prevail in a competitive market.




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         27)    The foregoing agreements and self-imposed restrictions and limitations constitute

  per se violations of section 1 of the Sherman Act, 15 U.S.C. § 1 and Section 16 of the Clayton

  Act, 15 U.S.C. § 26.

         28)    Defendant OPEC is a global commercial cartel, exploiting its market power to

  maximize its and its members’ economic interests.

         29)    Defendant OPEC’s production restrictions and limitations are not driven by a

  desire to conserve natural resources. Instead, OPEC is driven as is any other price-fixing

  cartel, which works in conjunction with oil refiners and others, by its desires to optimize

  revenue.

         30)    The strictly commercial nature of OPEC’s conduct is further confirmed by its

  course of dealing with non-members. OPEC has met with these non-members and has

  secured their agreement to limit production and has thereby increased the price of gasoline

  and other petroleum products over competitive levels.

         31)    The strictly commercial nature of OPEC’s conduct is further demonstrated by

  its acquisition of refineries and other oil businesses in the United States and Europe. These

  acquisitions allow OPEC to control refining and distribution facilities in their most important

  markets and, additionally, allow OPEC to maintain its anticompetitive prices by preventing

  large customers from exercising their buying power to secure price concessions.

                               TERRITORIAL SCOPE OF THE
                                     CONSPIRACY

         32)    The United States is the largest consumer of gasoline and petroleum products

  in the world. As a result, the American market is a key target of OPEC. Defendant OPEC has

  attempted and has succeeded in directly and substantially affecting the prices of these

  products in the United States.




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         33)    The acts complained of herein are not the unilateral, independent acts of

  sovereign nations taken and effectuated entirely within the confines of their own territorial

  boundaries. As a multinational cartel, OPEC depends upon the concerted and agreed upon

  commercial acts of all its members, and those which act in concert with OPEC, to achieve the

  conspiracy’s price fixing scheme.

         34)    Defendant OPEC’s actions, therefore, are cannot by definition be confined to

  the territories of its member nations. There are at least five different ways in which OPEC’s

  activities extend beyond the boundaries of its individual member’s territories. First, as a

  multinational cartel, OPEC’s production quotas are negotiated and agreed upon by and

  among its member nations at regular meetings held for that purpose. Meetings with privately

  owned oil companies to discuss limitations and restrictions on production have also occurred

  on an extraterritorial basis. Second, the entire purpose of the cartel is to fix prices in global

  markets, not just in local markets. Third, OPEC’s conspiracy to charge anticompetitive prices

  comes to fruition only upon the sale of gasoline and other petroleum products to non-OPEC

  countries and to Plaintiff in the United States. Fourth, OPEC, through its members, has

  acquired refining and distribution facilities within the territory of the United States so as to

  effectuate its scheme to sell gasoline and other petroleum products at anticompetitive prices.

                                      ANTITRUST INJURY

         35)    Plaintiff purchases gasoline and other petroleum products directly from OPEC

  and its members and co-conspirators in the United States. As a purchaser, Plaintiff is entitled

  to bring this action under the Sherman and Clayton Acts for injunctive relief.

         36)    Defendants OPEC’s unlawful conspiracy, in concert with the unnamed co-

  conspirators, has had the following direct, foreseeable and substantial effects: a) The

  production of oil in OPEC member countries has been artificially limited and restricted; b)



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   The price of gasoline and other petroleum products has been fixed, raised, and stabilized

   throughout the United States at artificially high and anticompetitive levels; c) Plaintiff, as a

   purchaser of gasoline and other petroleum products, has been deprived by Defendant of the

   ability to purchase gasoline and other petroleum products at competitive prices; d)

   Competition in the sale of gasoline and other petroleum products has been restrained; and e)

   OPEC and its members and co-conspirators have sold gasoline and other petroleum products

   to Plaintiff at prices substantially higher than competitive levels.

             37)   By reason of the antitrust violations herein, Plaintiff has paid more for gasoline

   and other petroleum products in Florida and nationwide than it would have paid in the

   absence of the illegal combination and conspiracy by Defendant OPEC.

                                       CAUSES OF ACTION

     COUNT I - DEFENDANT OPEC IS A CONSPIRATOR WITH ITS MEMBERS AND
      NON-MEMBER CO-CONSPIRATORS IN VIOLATION OF SECTION 1 OF THE
               SHERMAN ACT AND SECTION 4 OF THE CLAYTON ACT

             38)   Plaintiff realleges paragraphs 1 through 37 above and further states that:

             39)   Defendant OPEC is a party to and a willing participant in the price-fixing

   scheme to sell gasoline and other petroleum products at anti-competitive prices in the United

   States.

             40)   Defendant OPEC agreed to provide material assistance to the cartel and to

   otherwise facilitate its price-fixing and market division schemes.

             41)   Defendant OPEC’s anticompetitive activities and the anticompetitive activities

   of the unnamed co-conspirators, which on information and belief include but are not limited

   to even American and European oil companies and refiners, pursuant to their agreements in

   restraint of trade, are pro se violations of Section 1 of the Sherman Act, 15 U.S.C. § 1 and

   Section 4 of the Clayton Act, 15 U.S.C. § 15.



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          42)    As a direct result of the unlawful conspiracy by the Defendant OPEC and the

   unnamed co-conspirators, Plaintiff has been grossly overcharged for gasoline and other

   petroleum products.

          43)    The actions by Defendant OPEC, and those acting in concert with OPEC, are

   illegal and should be declared as such by this Honorable Court and said actions should be

   enjoined.

          44)    The failure of this Honorable Court to so enjoin these actions will continue to

   cause irreparable harm to Plaintiff.

          45)    As a result of Defendant’s actions, Plaintiff has been forced to expend

   considerable resources.

                                     PRAYER FOR RELIEF

          Wherefore, Plaintiff respectfully requests that this Honorable Court enter Judgment in

   its favor and against Defendant OPEC, declaring Defendant OPEC’s actions to be a per se

   and/or an unreasonable restraint of trade or commerce in violation of Section 1 of the

   Sherman Act, 15 U.S.C. § 1 and Section 4 of the Clayton Act, 15 U.S.C. § 15 and that

   pursuant to the Section 16 of the Clayton Act, 15 U.S.C. § 26 this Honorable Court enter an

   Order preliminarily and permanently enjoining Defendant OPEC, and those unnamed co-

   conspirators, from continued violations of the antitrust laws as more fully described herein

   and ordering any further legal or equitable relief that this Honorable Court may deem just

   and proper.

   Dated: November 30, 2021                                 Respectfully Submitted,

                                                            /s/ Larry Klayman_____
                                                            Larry Klayman, Esq.
                                                            Florida Bar No.0246220
                                                            FREEDOM WATCH, Inc.
                                                            7050 West Palmetto Park Road
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